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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________


No. 21-3086                                                 September Term, 2021
                                                                     1:21-cr-00003-RCL-1
                                                   Filed On: July 5, 2022 [1953430]
United States of America,

              Appellee

       v.

Jacob Anthony Chansley, also known as
Jake Angeli, also known as Jacob Angeli,

              Appellant

                                       MANDATE

      In accordance with the order of July 5, 2022, and pursuant to Federal Rule of
Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Tatiana A. Magruder
                                                          Deputy Clerk




Link to the order filed July 5, 2022
